Case 1:17-cv-01062-HYJ-SJB ECF No. 623, PageID.27173 Filed 09/19/22 Page 1 of 11




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


  BEVERLY ZIMMERMAN, et al., on behalf
  of themselves and all others similarly
  situated,                                             Case No. 1:17-cv-1062

  Plaintiffs,                                           Hon. Hala Y. Jarbou

  v.

  THE 3M COMPANY f/k/a Minnesota
  Mining and Manufacturing Co., et al.,

  Defendants.



                ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION FOR
                PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

         Plaintiffs Therese Cooper, Dennis Gregory, Malia Gregory, Paul Groenendal, Rosalyn

 Ingham, Nancy James (individually and as trustee of the Nancy I. James Trust), Theodore James,

 Megan Johns, Michael Johns, Michelle Van Wuffen (individually and as trustee of the Terry Alan

 VanWuffen and Michelle Lisa Van Wuffen Trust), and Terry Van Wuffen (individually and as

 trustee of the Terry Alan VanWuffen and Michelle Lisa Van Wuffen Trust) (collectively

 “Plaintiffs”) and Defendants Wolverine Worldwide, Inc. (“Wolverine”) and The 3M Company

 (“3M”) (collectively, “Defendants” and with Plaintiffs, collectively, the “Parties”), by and through

 their undersigned attorneys, hereby submit this proposed Stipulated Order for Preliminary

 Approval of Class Action Settlement:

         WHEREAS, the Court reviewed and considered the Motion for Preliminary approval and

 supporting materials filed by Class Counsel;




                                                  1
Case 1:17-cv-01062-HYJ-SJB ECF No. 623, PageID.27174 Filed 09/19/22 Page 2 of 11




         WHEREAS, this Court has fully considered the record and requirements of law; and good

 cause appearing;

         IT IS THIS 19th day of September, 2022 ORDERED that the Settlement is hereby

 PRELIMINARILY APPROVED. The Court further ORDERS as follows:

         1.      The Court has subject matter jurisdiction under 28 USC § 1332(d), and venue is

 proper in this District.

         2.      The Court has personal jurisdiction over the Plaintiffs, Settlement Class Members

 and the Defendants.

         3.      To the extent not otherwise defined herein, all defined terms in this Order shall have

 the meaning assigned in the Settlement Agreement.

         4.      The Settlement was the result of the Parties’ good-faith negotiations. The

 Settlement was entered into by experienced counsel and only after extensive arm’s length

 negotiations over a lengthy period of time. This Settlement is not the result of collusion.

         5.      The proceedings and extensive discovery that occurred before the Parties reached

 the Settlement gave counsel the opportunity to adequately assess this case’s strengths and

 weaknesses and accordingly structure the Settlement in a way that adequately accounts for those

 strengths and weaknesses.

         6.      The Court has carefully reviewed the Settlement Agreement and finds that the

 Settlement is fair, reasonable, adequate and meets the standards for preliminary approval under

 Fed. R. Civ. P. 23(e)(2). Accordingly, the Court preliminarily approves all terms of the Settlement

 and its accompanying Exhibits.




                                                   2
Case 1:17-cv-01062-HYJ-SJB ECF No. 623, PageID.27175 Filed 09/19/22 Page 3 of 11




        7.     Pursuant to Fed. R. Civ. P. 23(a) and (b)(3), the Court conditionally certifies, for

 settlement purposes only, the following Settlement Class:

               Settlement Class: All Persons who are or were owners of Real Property located
               within the North Kent Study Area, who owned that property as of November 1,
               2017, and who were not supplied with drinking water from a municipal water
               source as of November 1, 2017; provided, however, that the “Settlement Class”
               shall not include Excluded Persons. The Settlement Class consists of three
               settlement subclasses: Settlement Subclass 1: Municipal Water Extension;
               Settlement Subclass 2: Filtration Systems; and Settlement Subclass 3: Other.

        Pursuant to Fed. R. Civ. P. 23(c), the Court further conditionally certifies, for settlement

 purposes only, the following Settlement Subclasses:

        Settlement Subclass 1: Municipal Water Extension: All Settlement Class
        Members who are or were owners of Real Property located within the North Kent
        Study Area and who owned that property as of November 1, 2017, and were
        transitioned to municipal water, or are scheduled to transition to municipal water,
        under the EGLE/Wolverine Consent Decree.

        Settlement Subclass 2: Filtration Systems: All Settlement Class Members who
        are or were owners of Real Property located within the North Kent Study Area and
        who owned that property as of November 1, 2017, and were offered or received a
        filtration system from Wolverine or its agents pursuant to the EGLE/Wolverine
        Consent Decree to treat their well-sourced water and who are not members of
        Settlement Subclass 1: Municipal Water Extension
        Settlement Subclass 3: Other: All Settlement Class Members who are not in
        Settlement Subclass 1: Municipal Water Extension or Settlement Subclass 2:
        Filtration Systems and who are or were owners of Real Property located within the
        North Kent Study Area and who owned that property as of November 1, 2017.

        Excluded from the Settlement Class and Subclasses are Excluded Persons, defined as:
        (i) any Person who has timely and validly excluded himself, herself or itself from
        the Settlement Class, in accordance with Section 13 of this Agreement; (ii) any
        Person (other than Plaintiffs) who has previously filed a claim against any
        Defendant alleging a PFAS-related injury or illness, including without limitation a
        spousal derivative claim, or seeking medical monitoring or property damages,
        related to the presence of PFAS in any environmental media or drinking water in
        the North Kent Study Area, on or at their property in the North Kent Study Area,
        and/or in their persons, including without limitation the claims filed in the
        consolidated litigation captioned In re Nylaan Litigation, No. 17-10176 CZ, in the
                                                 3
Case 1:17-cv-01062-HYJ-SJB ECF No. 623, PageID.27176 Filed 09/19/22 Page 4 of 11




        Circuit Court for the County of Kent, Michigan, excluding any previous Plaintiffs
        to this Action who were dismissed without prejudice under Federal Rule of Civil
        Procedure 41; (iii) Defendants, any entity or division in which any Defendant has
        a controlling interest, Defendants’ respective legal representatives in this Action,
        and their respective officers, directors, assigns and successors; (iv) the judge to
        whom this Action is assigned, any member of the judge’s immediate family and the
        judge’s staff, or any other judicial officer or judicial staff member assigned to this
        case; (v) any Class Counsel, including their partners, members, and shareholders,
        and any immediate family members of Class Counsel; (vi) any State, including
        without limitation the United States, or any of its agencies; and (vii) Plainfield
        Township, Algoma Township, or any other local governmental entity or agency or
        public or quasi-public entity.
        8.      The Court hereby conditionally appoints the following Plaintiffs as Class

 Representatives for the Settlement Class and Subclasses:

        Settlement Class Representatives: Therese Cooper, Dennis Gregory, Malia
        Gregory, Paul Groenendal, Rosalyn Ingham, Nancy James (individually and as
        trustee of the Nancy I. James Trust), Theodore James, Megan Johns, Michael Johns,
        Michelle Van Wuffen (individually and as trustee of the Terry Alan VanWuffen
        and Michelle Lisa Van Wuffen Trust), and Terry Van Wuffen (individually and as
        trustee of the Terry Alan VanWuffen and Michelle Lisa Van Wuffen Trust)
        Settlement Subclass 1 Representatives: Municipal Water Extension:
        Therese Cooper, Dennis Gregory, Malia Gregory, Megan Johns, Michael Johns,
        Michelle Van Wuffen (individually and as trustee of the Terry Alan VanWuffen
        and Michelle Lisa Van Wuffen Trust), and Terry Van Wuffen (individually and as
        trustee of the Terry Alan VanWuffen and Michelle Lisa Van Wuffen Trust).
        Settlement Subclass 2 Representative: Filtration Systems
        Rosalyn Ingham
        Settlement Subclass 3 Representatives: Other
        Paul Groenendal, Nancy James (individually and as trustee of the Nancy I. James
        Trust), and Theodore James.
        9.      The Court finds that the Class and Subclass Representatives will fairly and

 adequately protect and represent the interests of all members of the Settlement Class and

 Subclasses, and the interests of the Class and Subclass Representatives are not antagonistic to those




                                                  4
Case 1:17-cv-01062-HYJ-SJB ECF No. 623, PageID.27177 Filed 09/19/22 Page 5 of 11




 of the Settlement Class or Subclasses. The Class and Subclass Representatives are represented by

 counsel who are experienced and competent in the prosecution of complex class action litigation.

        10.     The Court has reviewed and finds that the content of the proposed Notice Forms

 attached as Exhibits D and E to the Settlement Agreement, which are to be displayed, along with

 the Settlement Agreement and its Exhibits, on the Settlement Website, satisfy the requirements of

 Fed. R. Civ. P. 23(c)(2), Fed. R. Civ. P. 23(e)(1), and Due Process and accordingly approves the

 Notice Forms and Claim Form.

        11.     As set forth in more detail below and in addition to any other deadlines set forth in

 this Order, the Court orders the following deadlines:

                    Event                                             Deadline
  Notice Date                                     30 days after Preliminary Approval
  Opt Out Deadline & Objection Deadline           45 days after Notice Date (i.e., 75 days after
                                                  Preliminary Approval)
  Claim Deadline                                  90 days after Notice Date (i.e., 120 days after
                                                  Preliminary Approval)
  Deadline for filing motions for Final           45 days after Claim Deadline (i.e., 165 days
  Approval Order and approval of Plaintiffs’      after Preliminary Approval)
  Service Awards and Class Counsel
  attorneys’ fees and costs awards
  Final Approval Hearing                          No earlier than 30 days after the filing of the
                                                  motion for a Final Approval Order (i.e., no
                                                  earlier than 195 days after Preliminary
                                                  Approval)


        12.     The Court further approves the proposed methods for giving notice of the

 Settlement to members of the Settlement Class and Subclasses, as reflected in the Settlement

 Agreement. The Court has reviewed the plan for distributing Notice to the Settlement Class and

 finds that the Settlement Class Members will receive the best notice practicable under the

 circumstances. The Court specifically approves the Parties’ proposal that within thirty (30) days

 after Preliminary Approval, or by the time specified by the Court, the General Administrator shall


                                                  5
Case 1:17-cv-01062-HYJ-SJB ECF No. 623, PageID.27178 Filed 09/19/22 Page 6 of 11




 commence the Notice Program, including by mailing the Notice Form in such form as is approved

 by the Court. The General Administrator shall transmit the short Notice Form, substantially in the

 form attached to the Settlement Agreement as Exhibit E, via direct mail or electronic mail to all

 addresses of Real Properties in the North Kent Study Area who were not supplied with drinking

 water from a municipal water source as of November 1, 2017. The long Notice Form will be

 posted on the Settlement Website. The Notice Program shall consist of direct mail; internet; digital

 media impressions; a national press release; and a community outreach effort. The General

 Administrator shall maintain a Settlement Website containing the Proposed Third Amended

 Complaint, this Agreement, the long Notice Form, Plaintiffs’ motion seeking preliminary

 approval, the Preliminary Approval Order, Plaintiffs’ motion seeking a Final Approval Order, the

 Final Approval Order, the Claim Form, and such other documents as the Parties agree to post or

 that the Court orders posted.     The Settlement Website will also provide the capability for

 Settlement Class Members to submit claims online from the website. These documents shall

 remain on the Settlement Website for at least six months after the Effective Date. The Court finds

 that these procedures, carried out with reasonable diligence, will constitute the best notice

 practicable under the circumstances and will satisfy the requirements of Fed. R. Civ. P. 23(c)(2)

 and Fed. R. Civ. P. 23(e)(1) and Due Process.

        13.     The Court appoints Angeion Group, LLC as the General Administrator. The Parties

 are hereby authorized to retain the General Administrator to supervise and administer the Notice

 procedure as well as the processing of Claims.

        14.     The Court preliminarily finds that the following counsel fairly and adequately

 represent the interests of the Settlement Class and Subclasses and hereby conditionally appoints




                                                  6
Case 1:17-cv-01062-HYJ-SJB ECF No. 623, PageID.27179 Filed 09/19/22 Page 7 of 11




 Sharon Almonrode of the Miller Law Firm, P.C. and Esther Berezofsky of Motley Rice LLC as

 Co-Lead Class Counsel.

        15.      To become eligible to receive Settlement Class Member Payments pursuant to the

 Settlement Agreement, Claimants must submit a Claim Form and, if necessary, supporting

 documents, to the General Administrator during the Enrollment Period. The Enrollment Period

 shall commence on the Notice Date and shall conclude on the Claim Deadline (90 days after the

 Notice Date). Claim Forms postmarked on the Claim Deadline shall be deemed timely filed.

        16.      A Settlement Class Member may make an Objection by serving on the Parties and

 the Court a timely and valid statement of Objection that complies with the Objection procedure

 described in the Notice Form. Class Counsel shall file all such Objections with the Court at least

 thirty (30) days prior to the Final Approval Hearing.

              a. To be timely and valid, a statement of Objection must be postmarked or received
                 on or before the Objection Deadline and must include: (i) the full name, current
                 address, and telephone number of the objector; (ii) a statement of the facts that
                 make the objector a Settlement Class Member; (iii) a statement describing all of the
                 objector’s challenges to this Agreement or the Settlement and the reasons for those
                 challenges; (iv) all of the papers and evidence the objector intends to submit in
                 support of those challenges; (v) a statement of whether the objector intends to
                 appear at the Final Approval Hearing; (vi) the signature of the objector; (vii) a
                 statement that the objector is willing to be deposed, upon request, on a mutually
                 acceptable date at least ten (10) days before the Final Approval Hearing; (viii) the
                 caption of each case in which the objector or counsel representing the objector have
                 objected to a class action settlement within the preceding five years and a copy of
                 all orders related to or ruling upon those objections; and (ix) all agreements that
                 relate to the Objection, whether written or verbal, between or among the objector,
                 counsel for the objector, and/or any other Person.

              b. To object, a member of the Settlement Class, individually or through counsel, must
                 file a written objection with the court, and must also serve a copy thereof upon the
                 following, postmarked or received no later than 45 days after the Notice Date (the
                 Objection Deadline):
                 Class Counsel:
                 Esther Berezofsky
                 Motley Rice, LLC

                                                   7
Case 1:17-cv-01062-HYJ-SJB ECF No. 623, PageID.27180 Filed 09/19/22 Page 8 of 11




                 210 Lake Drive East, Suite 101
                 Cherry Hill, NJ 08002

                 Sharon S. Almonrode
                 The Miller Law Firm, P.C.
                 950 W. University Dr., Suite 300
                 Rochester, MI 48307

                 and
                 Defense Counsel
                 Michael D. Daneker
                 Arnold & Porter Kaye Scholer LLP
                 601 Massachusetts Ave. NW
                 Washington, DC 20001

                 Daniel L. Ring
                 Michael A. Olsen
                 Mayer Brown LLP
                 71 South Wacker Drive
                 Chicago, IL 60606

                 Unless the Court orders otherwise, only those Settlement Class Members whose
                 statements of Objection express an intention to appear at the Final Approval
                 Hearing shall have the right to present their Objections orally at the Final Approval
                 Hearing.

              c. A Settlement Class Member that does not submit a timely and valid Objection shall
                 have waived, and shall be foreclosed from making, any challenge to the Settlement
                 Agreement in the Action or any other proceeding.

        17.      Plaintiffs and Defendants shall have the right, but not the obligation, to respond to

 any timely-filed Objection no later than seven (7) days prior to the Final Approval Hearing. Any

 Party who wishes to respond shall file a copy of the written response with the Court, and shall

 serve a copy, by hand or overnight delivery, to the objecting Settlement Class Member (or counsel

 for the objecting Settlement Class Member) and by email to counsel for Plaintiffs and/or

 Defendants.




                                                   8
Case 1:17-cv-01062-HYJ-SJB ECF No. 623, PageID.27181 Filed 09/19/22 Page 9 of 11




        18.      A Settlement Class Member may Opt Out by submitting to the General

 Administrator a timely and valid request that complies with the Opt Out procedure described in

 the Notice Form. The Opt Out period shall run for forty-five (45) days from the Notice Date.

              a. To be timely and valid, an Opt Out request must have been submitted on or before
                 the Opt Out Deadline with the submission date verified by postmark or email
                 receipt and must include: (i) the full name, current address, and telephone number
                 of the requestor; (ii) a statement of the facts that make the requestor a Settlement
                 Class Member; (iii) a statement requesting exclusion from the Settlement Class;
                 and (iv) the signature of the requestor.

              b. Any Settlement Class Member that submits a timely and valid Opt Out request shall
                 not: (i) be bound by any orders or judgments entered in the Action to implement
                 and effectuate the Settlement Agreement; (ii) be entitled to any of the relief or other
                 benefits provided under the Settlement Agreement; (iii) gain any rights by virtue of
                 the Settlement Agreement; or (iv) be entitled to submit an Objection.

              c. Any Settlement Class Member that does not submit a timely and valid Opt Out
                 request submits to the jurisdiction of the Court and shall be bound by the terms of
                 this Agreement and by all orders and judgments in the Action to implement and
                 effectuate the Settlement Agreement, regardless of whether or not such Settlement
                 Class Member submits a Claim Form.

              d. No “mass” or “class” Opt Out requests shall be valid, and no Settlement Class
                 Member may submit an Opt Out request on behalf of any other Settlement Class
                 Member; provided, however, that a Settlement Class Member who is the legal
                 guardian, trustee, or power of attorney of another Settlement Class Member may
                 submit an Opt Out request on behalf of such other Settlement Class Member.

              e. Any Settlement Class Member that submits an Opt Out request may revoke the
                 request by submitting to the General Administrator a statement of revocation with
                 a verified submission date no later than thirty (30) days after the Opt Out Deadline;
                 provided, however, that Class Counsel shall have discretion to extend this deadline
                 on a case-by-case basis.

              f. As soon as practicable and no later than fifteen (15) days after the Claim Deadline,
                 the General Administrator shall furnish the Parties with a final list of all timely and
                 valid Opt Out requests that have been submitted.

              g. Any Class Member who submits a timely Opt Out request may not file an Objection
                 to the Settlement and shall be deemed to have waived any rights or benefits under
                 the Settlement Agreement.




                                                    9
Case 1:17-cv-01062-HYJ-SJB ECF No. 623, PageID.27182 Filed 09/19/22 Page 10 of 11




         19.     Any member of the Settlement Class failing to properly and timely submit a written

  Opt Out request shall be automatically included in the Settlement Class and shall be bound by all

  of the terms and provisions of the Settlement Agreement, including but not limited to the release,

  and the Final Order and Judgment.

         20.     Any motions for a Final Approval Order and approval of Plaintiffs’ Service Awards

  and attorneys’ fees and costs awards shall be filed within forty-five (45) days after the Claim

  Deadline.

         21.     The Court directs that pursuant to Fed. R. Civ. P. 23(e)(2), a hearing will be held

  on March 29, 2023, at 10:00 AM, to consider final approval of the Settlement (the “Fairness

  Hearing” or “Final Approval Hearing”) including, but not limited to, the following issues: (1) to

  determine whether to grant final approval to (a) the certification of the Settlement Class, (b) the

  designation of Plaintiffs as representative of the Settlement Class, (c) the designation of Class

  Counsel for the Settlement Class, and (d) the Settlement; (2) to rule on Class Counsel’s request

  for an award of attorneys’ fees and reimbursement of costs, and for Service Awards to Class

  Representatives; and (3) to consider whether to enter the Final Approval Order. The Fairness

  Hearing may be adjourned by the Court and the Court may address matters set out above,

  including final approval of the Settlement, without further notice to the Settlement Class other

  than notice that may be posted at the Court and on the Court’s and General Administrator’s

  websites.

         22.     Upon Final Approval of the Settlement, all Settlement Class Members who do not

  timely and properly Opt Out of the Settlement shall be deemed to have, and by operation of the

  Final Order and Judgment shall have, fully and completely released, acquitted and discharged the




                                                 10
Case 1:17-cv-01062-HYJ-SJB ECF No. 623, PageID.27183 Filed 09/19/22 Page 11 of 11




  Released Parties from all Released Claims as set forth in the Settlement Agreement, and the Action

  will be deemed dismissed with prejudice.

         23.     In the event that the Settlement Agreement is not finally approved, this Preliminary

  Approval Order shall be rendered null and void and shall be vacated, and all orders entered and

  releases delivered in connection herewith shall be null and void to the extent provided by and in

  accordance with the Settlement Agreement. If the Settlement Agreement is not finally approved,

  no Party shall be deemed to have waived any claims, objections, rights or defenses, or legal

  arguments or positions, including but not limited to, claims or objections to class certification, or

  claims or defenses on the merits. Each Party reserves the right to prosecute or defend this Action

  in the event that this Agreement does not become final and binding. This Action shall thereupon

  revert immediately to its respective procedural and substantive status prior to the date of execution

  of the Settlement Agreement.

         24.     The Court shall retain continuing and exclusive jurisdiction over the Parties, the

  Settlement Class Members, and this Agreement, to interpret, implement, administer and enforce

  the Agreement in accordance with its terms, and, as appropriate, to award attorneys’ fees and

  expenses to Class Counsel and make awards to the Plaintiffs in connection with their

  representation of the Settlement Class and Settlement Subclasses.

         25.     Pending final determination of the Settlement Agreement, all proceedings in this

  Action other than the settlement approval proceedings shall be stayed.

  IT IS SO ORDERED.


  Dated: September 19, 2022                           /s/ Hala Y. Jarbou
                                                     _____________________
                                                     HALA Y. JARBOU
                                                     CHIEF UNITED STATES DISTRICT JUDGE


                                                   11
